
*802OPINION.
Siefkin :
The questions in this proceeding find their answer in the valuation of patents and inventions on which applications for patents had been made on March 1, 1913. The subject matter consists of certain nonferrous alloys. There was abundant testimony of well-qualified experts in metallurgy as to the physical characteristics and value of the product. There was also sufficient evidence, in our opinion, of a demand for the product which could reasonably be expected to yield a considerable income over the life of the patents. From all the evidence we conclude that the value was at least the amount claimed by the petitioner and that a deduction can be taken for exhaustion based upon the values we have found.
The respondent’s counsel, although he does not cite the case of Individual Towel &amp; Cabinet Service Co., 5 B. T. A. 158, in effect makes the same contention which was made for the respondent in that case and which was rejected by the Board. Although the argument is made in different terms, we regard it as essentially the same position. In any event, we see no merit in it.

Judgment will be entered wider Rule 50.

